Case 24-50512-grs         Doc 11   Filed 05/02/24 Entered 05/02/24 14:25:49           Desc Main
                                   Document      Page 1 of 1



                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                                  Lexington Division


 In re:

     Donald Anthony Fitzpatrick                      Case No. 24-50512
     Ashley Louise Fitzpatrick                       Chapter 11

          Debtors.


                 NOTICE OF APPOINTMENT OF SUBCHAPTER V TRUSTEE

      Pursuant to 11 U.S.C. § 1183(a), the United States Trustee has appointed the following

qualified individual as Subchapter V trustee in the above-captioned case:

          Charity S. Bird
          Kaplan Johnson Abate & Bird, LLP
          710 W. Main Street, 4th Floor
          Louisville, KY 40202
          E-mail: cbird@kaplanjohnsonlaw.com
          Phone: (502) 540-8285


      The trustee’s verified statement of disinterestedness and anticipated rate of compensation

is attached to this notice.

Date: May 2, 2024                            PAUL A. RANDOLPH
                                             Acting United States Trustee
                                             Region 8

                                             By: /s/ _John L. Daugherty______________
                                             John L. Daugherty
                                             Assistant U.S. Trustee
                                             Bradley M. Nerderman
                                             Trial Attorney
                                             Office of the U.S. Trustee
                                             100 E. Vine St., Suite 500
                                             Lexington, KY 40507
                                             (859) 233-2822
